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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  In re:                                               )   Chapter 11
  FREE SPEECH SYSTEMS LLC,                             )   Case No. 22-60043
                                                       )
                        Debtor.                        )

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  In re:                                               )   Chapter 11
  ALEX E. JONES,                                       )   Case No. 22-33553
                                                       )
                        Debtor.                        )

           SUBCHAPTER V TRUSTEE’S EMERGENCY MOTION FOR THE
                 APPOINTMENT OF A JUDICIAL MEDIATOR

 This motion seeks an order that may adversely affect you. If you oppose the motion, you should
 immediately contact the moving party to resolve the dispute. If you and the moving party cannot
 agree, you must file a response and send a copy to the moving party. You must file and serve your
 response within 21 days of the date this was served on you. Your response must state why the
 motion should not be granted. If you do not file a timely response, the relief may be granted
 without further notice to you. If you oppose the motion and have not reached an agreement, you
 must attend the hearing. Unless the parties agree otherwise, the court may consider evidence at
 the hearing and may decide the motion at the hearing. Represented parties should act through
 their attorney.

 Emergency relief has been requested. The Subchapter V Trustee requests consideration of this
 Motion not later than March 29, 2024.

 If the Court considers the motion on an emergency basis, then you will have less than 21 days to
 answer. If you object to the requested relief or if you believe that the emergency consideration is
 not warranted, you should file an immediate response.

To Judge Christopher López, United States Bankruptcy Judge:

       Melissa Haselden, (the “Subchapter V Trustee”), files this Emergency Motion for the

Appointment of a Judicial Mediator (“Motion”), and represents as follows:
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                      SUMMARY OF THE EMERGENCY APPLICATION

             1.     The Trustee seeks the appointment of a mediator to moderate the in person

  meeting of key parties in the Free Speech Systems, LLC and Alex E. Jones bankruptcy cases.

  An agreement for a face to face meeting was announced at the hearing held on March 11, 2024.

  The Trustee believes that facilitation of discussion at that meeting by Judge Edward L. Morris

  will greatly assist the parties in their negotiations.

                                          JURISDICTION

             2.     This Court has jurisdiction by virtue of 28 U.S.C. § 1334. This matter is a

  core proceeding pursuant to 28 U.S.C. §§ 157(b)(1), (b)(2)(A) and (M).

                                               VENUE

        3.        Venue is proper in this district pursuant to pursuant to 28 U.S.C. §§ 1408(1) and

(2) and 11 U.S.C. § 101(2)(A).

                                          BACKGROUND

             4.     Free Speech Systems, LLC (“FSS”) filed a voluntary petition for relief under

  Chapter 11 Subchapter V of the Bankruptcy Code on July 29, 2022 [Docket No. 1]. On August

  2, 2022, Melissa Haselden was appointed Subchapter V Trustee [Docket No. 22].

             5.     Alex E. Jones (“Jones”) filed a voluntary petition for relief under Chapter 11 of

  the Bankruptcy Code on December 2, 2022 [Docket No. 1].

             6.     At a hearing conducted on March 11, 2024, the parties announced an agreement

  to meet face to face in an effort to develop a resolution to these cases. Having observed the

  dynamic in these unique matters, the Trustee believes that Judge Morris’ moderation of the

  meeting could prove beneficial to the parties are they conduct their negotiations. Judge Morris

  agreed to facilitate the meeting if approved by this Court.

             7.     The Trustee consulted with counsel for FSS, Jones, PQPR, counsel for Neil
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  Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine (the “Texas

  Plaintiffs”), and Counsel for David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole

  Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian

  Soto-Marino, William Aldenberg, William Sherlach, and Robert Parker, (the “Connecticut Plaintiffs”),

  counsel for Dr. David and Carol Jones, and counsel for the Unsecured Creditors Committee (the “UCC”)

  in the Jones case, (collectively, the “Parties”). The Parties do not oppose the relief requested.

                   EMERGENCY CONSIDERATION IS APPROPRIATE

       8.         These cases have been on file for more than a year. For a variety of reasons, a

resolution of these cases needs to be reached in short order. Judge Morris agreed to make himself

available in Ft. Worth on April 17 and 18, 2024. The Trustee requests that the Court enter this

order on an emergency basis to allow sufficient time for the parties and Judge Morris to commence

conversations, prepare themselves for the meeting and to make needed travel arrangements.

       WHEREFORE, the Trustee prays that the Court enter an order approving Judge Edward

L. Morris as a mediator and grant such other and further relief as is just and proper.



  DATED: March 25, 2024


                                                         /s/ Elizabeth C. Freeman
                                                         The Law Office of Liz Freeman
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                                                         Proposed Counsel to Melissa Haselden,
                                                         Subchapter V Trustee
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                              CERTIFICATE OF SERVICE

        I certify that on March 25, 2024, a copy of this Motion was sent to the parties listed
below by the Court’s ECF notification system and was send via e-mail to counsel to all
parties referenced in paragraph 7.


                                                         /s/ Elizabeth C. Freeman _____
                                                         Elizabeth C. Freeman
